'Case 5:06-cr-00022-WTH-PRL Document 3 Filed 04/05/06 Page 1 of 4 Pa elD 4

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V- Case No. 5:06-cr- ZZ" O¢ ” lOGF?~$_

Cts. 1-9: 18 U.S.C. §§ 287 and 2
EDDIE RAY KAHN
DOUGLAS P. ROS|LE
WESI_EY TRENT SN|PES
|ND|CTMENT
The Grand Jury charges that:
COUNTS ONE THROUGH E|GHT
1. On or about the dates listed below, in Lake County, in the l\/lidd|e District

of F|orida, and elsewhere,

EDD|E RAY KAHN
DOUGLAS F’. ROS|LE

defendants herein, did knowingly make and present, cause to be made and presented,
and aid and abet the making and presentation of, materially false, fictitious, and
fraudulent claims for payment upon and against the United States, presented to the
United States Department ofthe Treasury, lnterna| Revenue Service (“lRS"), an agency
of the United States, knowing that the claims were false, fictitious, and fraudulent; to
wit, the defendants made and presented to the |RS, caused to be made and presented
to the |RS, and aided and abetted the making and presentation to the |RS of1 amended
federal income tax returns (Forms 1040X) for certain individua|s, whose initials are

listed below, for the tax years listed below, wherein claims for income tax refunds in the

Case 5:06-cr-00022-WTH-PRL Document 3 Filed 04/05/06 Page 2 of 4 PagelD 5

amounts listed below were made, knowing such claims to be false, fictitious, and
fraudulent
2. The allegations in paragraph one above are hereby realleged and

incorporated by reference as though separately stated for each count.

 

 

lN|T|ALS OF REFUND
COUNT CLA|MANT{S) F|L|NG DATE TAX YEAR CLA|MED
1 DRH and BLH 05/02/2001 1997 $30,796.00
2 JER and VJR 04/09/2001 1997 $18,469.00
3 JER and VJR 04/10/2001 1998 $26,813.00
4 JS 04/14/2001 1997 $28,477.00
5 JS 04/16/2001 1998 $37,034.00
6 JS 04/16/2001 1999 $341,888.00
7 MDW 04/23/2001 1997 $4,755.00
8 I\/|DW 04/23/2001 1999 $18,145.00

All in violation of Title 18, United States Code, Sections 287 and 2.

COUNT NlNE
On or about April 11, 2001, in Lake County, in the l\/liddle District of Florida, and
elsewhere,
EDD|E RAY KAHN
DOUGLAS P. ROS|LE
WESLEY TRENT SN|PES
defendants herein, did knowingly make and present, cause to be made and presented,

and aid and abet the making and presentation of, a materially false, fictitious, and

fraudulent claim for payment upon and against the United States, presented to the

Case 5:06-cr-00022-WTH-PRL Document 3 Filed 04/05/06 Page 3 of 4 PagelD 6

United States Department of the Treasury, lnternal Revenue Service (“lRS”), an agency
of the United States, knowing that the claim Was false, fictitious, and fraudulent to wit,
the defendants made and presented to the lRS, caused to be made and presented to
the |RS, and aided and abetted the making and presentation to the lRS of, an amended
federal income tax return (Form 104OX) for defendant WESLEY TRENT SN|PES for
the tax year 1997, wherein a claim for an income tax refund in the amount of
$7,360,755.00 was made, knowing such claim to be false, fictitious, and fraudulent

ln violation of Title 18, United States Code, Sections 287 and 2.

 

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Foreperson 0 0

PAUL |. PEREZ
UNlTED STATES ATTORNEY

By: \L-.'"

JoHNlJ. s oRTiNo
Assistant United States Attorney

MMWMW

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Assistant United States Attorney

/` /'
RONKLDWNQXB/
Assistant United Sta s Attorney

Deputy Chief, Jacksonvi|le Division

By:

 

FORM OBD-34
APR 1991

Case 5:(?\€|5-cr-00022-WTH-PRL Document 3 Filed 04/05/06 Page 4 of 4 PagelD 7
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UNlTED STATES DlSTRlCT COURT

l\/liddle District of Florida

Ocala Division

THE UNlTED STATES OF AMER|CA

VS.

EDD|E RAY KAHN
DOUGLAS F’. ROS|LE
WESLEY TRENT SN|PES

 

 

 

lNDlCTMENT
Violations:
18 U.S.C. §§ 287 and 2
A true bill,
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v Foreperson 15 T{
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Filed in open court this \§rf day
of Apri|, A.D. 2006.
/jw Clerk '

 

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